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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


United States of America,
                                                  Hon. Joan H. Lefkow
                  Plaintiff,
                                                  Case No. 16-cv-05532
       v.

DeJuan Thornton-Bey,

                  Defendant.

                                    NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Wednesday, July 11, at 9:00 a.m. we shall appear
before the Honorable Joan Humphrey Lefkow, Courtroom 2201 in the U.S. District Court for the
Northern District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois, and
shall then and there present Defendant’s Unopposed Motion for an Extension to File His
Reply Brief, a copy of which is attached hereto.

Dated: June 26, 2018                              Respectfully submitted,

                                                  INTELIQUENT, INC.

                                                  By:    /s/ Joseph M. Carey



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                                      Certificate of Service

        I hereby certify that on June 26, 2018, I electronically filed Defendant’s Unopposed
Motion for an Extension to File His Reply Brief using the ECF System for the United States
District Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois.
Notice of this filing will be sent by operations of the Court’s electronic filing system to all
counsel of record registered on the ECF system.



                                                                      /s/ Joseph M. Carey
                                                                        Joseph M. Carey
